












Petition for Writ of Mandamus
Denied and Memorandum Opinion filed October 7, 2010.

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&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-10-00888-CR

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IN RE&nbsp; THOMAS FLORENCE, Relator

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ORIGINAL PROCEEDING

WRIT OF MANDAMUS

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M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On September 15, 2010, relator filed a petition for writ of
mandamus in this court.&nbsp; See Tex. Gov’t Code Ann. § 22.221 (Vernon
2004); see also Tex. R. App. P. 52.&nbsp; Relator requests we “order the
State to either take [him] to court or dismiss the charges. . .”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; To be entitled to mandamus relief, a relator must show that
he has no adequate remedy at law to redress his alleged harm, and what he seeks
to compel is a ministerial act, not involving a discretionary or judicial
decision. State ex rel. Young v. Sixth Judicial Dist. Court of Appeals at
Texarkana, 236 S.W.3d 207, 210 (Tex. Crim. App. 2007) (orig.proceeding). &nbsp;Consideration
of a motion that is properly filed and before the court is a ministerial act.&nbsp; State
ex rel. Curry v. Gray, 726 S.W.2d 125, 128 (Tex. Crim. App.1987)
(orig.proceeding) (op. on reh'g).&nbsp; A relator must establish the trial court (1)
had a legal duty to rule on the motion; (2) was asked to rule on the motion;
and (3) failed to do so.&nbsp; In re Keeter, 134 S.W.3d 250, 252 (Tex. App.
-- Waco 2003, orig. proceeding).&nbsp; A relator must show that the trial court
received, was aware of, and asked to rule on the motion.&nbsp; In re Villarreal,
96 S.W.3d 708, 710 (Tex. App. -- Amarillo 2003, orig. proceeding).&nbsp; 

Absent a showing the trial court is aware of and been asked
to rule on his motion for speedy trial, relator has not established his
entitlement to the extraordinary relief of a writ of mandamus.&nbsp; Accordingly, we
deny relator’s petition for writ of mandamus.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel
consists of Justices Seymore, Boyce, and Christopher.

Do Not
Publish — Tex. R. App. P. 47.2(b).&nbsp; 





